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                          SO ORDERED: March 13, 2012.




                          ______________________________
                          Basil H. Lorch III
                          United States Bankruptcy Judge



                    IN THE UNITED STATES BANKRUPTCY COURT
                          SOUTHERN DISTRICT OF INDIANA
                              NEW ALBANY DIVISION

 IN RE:                                         )        Chapter 11
                                                )
 EASTERN LIVESTOCK CO., LLC                     )        Case No. 10-93904-BHL-11
                                                )
                      Debtor.                   )        Hon. Basil H. Lorch III

             ORDER GRANTING APPLICATION TO EMPLOY
  KROGER GARDIS AND REGAS, LLP AS SPECIAL COUNSEL TO THE TRUSTEE

               Upon the Application To Employ Kroger Gardis & Regas, LLP as Special

 Counsel to Trustee ("Application") filed by James A. Knauer, the chapter 11 trustee

 appointed in this case ("Trustee"), and after a hearing, the Court, based on the record

 before it, finds that (i) it has jurisdiction over the matters raised in the Application

 pursuant to 28 U.S.C. §§ 157 and 1334; (ii) this is a core proceeding pursuant to 28

 U.S.C. § 157(b)(2); (iii) the relief requested in the Application is in the best interests of

 the Debtor, its estate, and creditors; (iv) proper and adequate notice of the Application

 and the hearing thereon has been given and that no other or further notice is necessary;

 (v) Kroger Gardis & Regas, LLP (a) holds no interest adverse to the Debtor or its estate
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 in the matters upon which it is sought to be engaged; (b) is a disinterested person as

 that term is defined pursuant to 11 U.S.C. § 101(14) and as required by 11 U.S.C. § 327;

 and (c) has disclosed any connections with parties as required by Bankruptcy Rule

 2014;and (vi) upon the record herein after due deliberation thereon, good and sufficient

 cause exists for the granting of the relief as set forth herein.

        Therefore, IT IS HEREBY ORDERED THAT:

               1.     The Application is granted on a final basis.

               2.     The Trustee is authorized to employ Kroger Gardis & Regas, LLP

 as special counsel for the Trustee pursuant to 11 U.S.C. §§ 328 and 330 upon the

 terms and conditions of the Application and the Kroger Gardis & Regas, LLP

 Engagement Letter attached to the Application.

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